    Case 18-30507-ABA            Doc 131-1 Filed 01/02/19 Entered 01/02/19 08:47:40                       Desc Ntc
                                   of Order Confirming Plan Page 1 of 1
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                                    UNITED STATES BANKRUPTCY COURT


District of New Jersey
401 Market Street
Camden, NJ 08102

                                          Case No.: 18−30507−ABA
                                          Chapter: 11
                                          Judge: Andrew B. Altenburg Jr.

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   American Gaming & Electronics, Inc.
   223 Pratt Street
   Hammonton, NJ 08037
Social Security No.:

Employer's Tax I.D. No.:
  36−1944630

                           NOTICE OF ORDER CONFIRMING CHAPTER 11 PLAN


      NOTICE IS HEREBY GIVEN that an Order Confirming the Chapter 11 plan was entered on January 2, 2019.

      IT IS FURTHER NOTICED,


      1. The clerk shall close the case 180 days after entry of the order confirming plan. Local Rule 3022−1(a).



      2. On motion of a party in interest filed and served within the time period set forth above, the court may for
         cause extend the time for closing the case. Local Rule 3022−1(b).



      3. All applications for allowance of fees and expenses shall be filed within 90 days after entry of a final order
         confirming plan, or such fees and expenses shall be deemed to be waived. Local Rule 2016−1(i).




Dated: January 2, 2019
JAN: bc

                                                                       Jeanne Naughton
                                                                       Clerk
